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 9
10                       UNITED STATES DISTRICT COURT
11                    SOUTHERN DISTRICT OF CALIFORNIA
12
13   HELIX ENVIRONMENTAL                       Case No. 18-cv-02000-AJB-NLS
     PLANNING, INC., a California
14
     corporation,                              DEFENDANT HELIX
15                                             ENVIRONMENTAL AND
                 Plaintiff,                    STRATEGIC SOLUTIONS’
16
                                               NOTICE OF PARTY WITH
17         v.                                  FINANCIAL INTEREST
18
     HELIX ENVIRONMENTAL AND
19   STRATEGIC SOLUTIONS, a California
     corporation,
20
21               Defendant.
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Case 3:18-cv-02000-AJB-NLS Document 13 Filed 02/19/19 PageID.169 Page 2 of 3



 1         Pursuant to Federal Rule of Civil Procedure 7.1 and Civil Local Rule 40.2,
 2   Defendant Helix Environmental and Strategic Solutions states that it has no parent
 3   corporations and no publicly held company owns 10% or more of its stock.
 4
 5
 6   Dated: February 19, 2019                      ONE LLP
 7
                                           By: /s/ Jenny S. Kim
 8
                                               Christopher W. Arledge
 9                                             Jenny S. Kim
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10                                             Helix Environmental and Strategic
                                               Solutions
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 1                            CERTIFICATE OF SERVICE
 2         I certify that on February 19, 2019, the foregoing document was electronically
 3   filed with the Clerk of the Court using the CM/ECF system, which will send
 4   electronic notification of such filing to the CM/ECF participant(s) noted below:
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18                                             /s/ Jenny S. Kim
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